
Vladenn Medical Supply Corp., as Assignee of Joseph, Robenson, Appellant,
againstOmni Indemnity Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Freiberg, Peck &amp; Kang, LLP (Yilo J. Kang, Esq), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Sally E. Unger, J.), entered October 14, 2014. The order, insofar as appealed from, upon reargument and, in effect, renewal, adhered to the determination in a prior order of that court entered April 30, 2014 granting defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order entered October 14, 2014, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, by order entered April 30, 2014, the Civil Court granted defendant's motion for summary judgment dismissing the complaint on the ground that defendant had not issued the insurance policy in question and, thus, that plaintiff had sued the wrong insurer. Plaintiff subsequently moved for leave to reargue, and, in effect, for leave to renew its opposition to defendant's prior motion. Plaintiff appeals from so much of an order of the Civil Court, entered October 14, 2014, as, upon reargument and, in effect, renewal, adhered to the determination in the April 30, 2014 order.
For the reasons stated in Tam Med. Supply Corp. v Omni Indem. Co. (48 Misc 3d 142[A], 2015 NY Slip Op 51294[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]) and Great Health Care Chiropractic, P.C. v Omni Indem. Co. (40 Misc 3d 139[A], 2013 NY Slip Op 51450[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2013]), the order entered October 14, [*2]2014, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: December 15, 2017










